       Case 5:20-cv-00219 Document 132 Filed on 03/18/22 in TXSD Page 1 of 18
                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                                                                                  March 18, 2022
                            UNITED STATES DISTRICT COURT
                                                                                Nathan Ochsner, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                  LAREDO DIVISION

JAMES KUYKENDALL,                                     §
                                                      §
            Plaintiff,                                §
                                                      §
VS.                                                   §    CIVIL ACTION NO. 5:20-CV-219
                                                      §           **SEALED**
AMAZON STUDIOS LLC et al.,                            §
                                                      §
             Defendants.                              §

                                                ORDER

            Before the Court is Amazon Studios, LLC’s motion to transfer venue

pursuant to 28 U.S.C. § 1404(a) (Dkt. No. 59). Having considered the relevant filings

and applicable law, the motion (Dkt. No. 59) is hereby GRANTED. Because all of

Plaintiff’s claims against the remaining Defendants will be transferred (see Dkt. No.

131; infra Section III), this entire civil action shall be TRANSFERRED to the

Central District of California, Los Angeles Division.

                                       I. BACKGROUND

          Plaintiff James Kuykendall is a Texas resident and former agent for the Drug

Enforcement Administration (“DEA”) (Dkt. No. 1 at 8).1 His lawsuit concerns a

streaming television documentary series called The Last Narc (“the Show”), which

explores the kidnapping and murder of DEA Agent Enrique Camarena (id. at 2). The

Show is available on Amazon.com, Inc.’s digital streaming service, Prime Video (id.




1   All pincites to docket entries refer to CM/ECF’s pagination.
    Case 5:20-cv-00219 Document 132 Filed on 03/18/22 in TXSD Page 2 of 18




at 7).

         Essentially, Plaintiff takes issue with his portrayal in the Show. According to

Plaintiff, only the Guadalajara Cartel (“the Cartel”) kidnapped and killed Agent

Camarena (id. at 1). But according to the Show, Plaintiff, other American officials,

and the Cartel coordinated Agent Camarena’s murder, and Plaintiff “deliberately

sabotaged” the criminal trial that ensued (id. at 2–3). The Show claims Agent

Camarena threatened to expose a secret, transnational, deep-state conspiracy (id. at

2). Supposedly, the federal government and the Cartel formed a pact to traffic drugs

into the United States and use some of the proceeds to fund Nicaraguan Contras (id.).

To thwart Agent Camarena’s potential revelation, the Show avers Plaintiff and the

Cartel planned Agent Camarena’s abduction, Plaintiff aided and abetted the

execution of the plan, and Plaintiff lied during the subsequent murder trial (id. at 3).

The Show also claims that Plaintiff received bribes from the Cartel (id.). In response

to his portrayal in the Show, Plaintiff filed this lawsuit (id.).

         There are four remaining Defendants in this case: Tiller Russell, Hector

Berrellez, IPC Television, LLC (“IPC”), and Amazon Studios, LLC (“Amazon Studios”)

(id. at 1). The first three Defendants—Russell, Berrellez, and IPC—created and

produced, or starred in, the Show (id. at 7–8). Amazon Studios is a TV production and

distribution company with its principal place of business in California (id. at 7). It is

a subsidiary of Amazon.com, Inc., and it produced, published, and distributed the

Show through Prime Video (id.).

         Plaintiff asserts four claims in this diversity action, namely: defamation per




                                            2
       Case 5:20-cv-00219 Document 132 Filed on 03/18/22 in TXSD Page 3 of 18




se, defamation per quod, intentional infliction of emotional distress, and violation of

Plaintiff’s right of publicity (id. at 36–41). In a separate order, the Court determined

it lacked personal jurisdiction over Russell, Berrellez, and IPC and ordered that

Plaintiff’s claims against them be transferred to the Central District of California

(Dkt. No. 131).2 Amazon Studios now requests a transfer of the claims against it to

the Central District of California, Los Angeles Division, pursuant to 28 U.S.C. §

1404(a) (Dkt. No. 59). Plaintiff opposes a transfer (Dkt. No. 64).

                                    II.     LEGAL STANDARD

          Section 1404(a) states: “For the convenience of parties and witnesses, in the

interest of justice, a district court may transfer any civil action to any other district

or division where it might have been brought or to any district or division to which

all parties have consented.” 28 U.S.C. § 1404(a). This provision authorizes “a

discretionary transfer when venue was proper, but another venue was more

convenient . . . .” Franco v. Mabe Trucking Co., Inc., 3 F.4th 788, 793 (5th Cir. 2021).

          A § 1404(a) transfer can only occur if two requirements are satisfied: (1) the

action could have been brought in the transferee court and (2) the convenience of the

parties and witnesses and the interest of justice weigh in favor of transfer. See 28

U.S.C. § 1404(a); In re Volkswagen AG, 371 F.3d 201, 203 (5th Cir. 2004)

(“Volkswagen I”). The first requirement is satisfied if the transferee court has both

personal and subject matter jurisdiction and if it is the proper venue for the action.

Epstein v. Gray Television, Inc., No. 3:06-cv-431, 2007 WL 295632, at *3 (W.D. Tex.



2   Amazon Studios did not contest personal jurisdiction (Dkt. No. 39 at 9).


                                                    3
    Case 5:20-cv-00219 Document 132 Filed on 03/18/22 in TXSD Page 4 of 18




Jan. 5, 2007) (“A federal district court is a forum in which suit ‘might have been

brought’ if both jurisdictional and venue requirements are satisfied.”).

      As for the convenience of the parties and witnesses and the interest of justice,

the court considers several public and private interest factors. In re Volkswagen of

Am., Inc., 545 F.3d 304, 315 (5th Cir. 2008) (“Volkswagen II”). No single factor has

dispositive weight, and the list of factors enumerated by the Fifth Circuit is neither

exhaustive nor exclusive. Id. The public interest factors are “(1) the administrative

difficulties flowing from court congestion; (2) the local interest in having localized

interests decided at home; (3) the familiarity of the forum with the law that will

govern the case; and (4) the avoidance of unnecessary problems of conflict of laws.”

Id. The private interest factors are “(1) the relative ease of access to sources of proof;

(2) the availability of compulsory process to secure the attendance of witnesses; (3)

the cost of attendance for willing witnesses; and (4) all other practical problems that

make trial of a case easy, expeditious, and inexpensive.” Id. A plaintiff’s choice of

venue is not a distinct factor in the § 1404(a) analysis, but “when the transferee venue

is not clearly more convenient than the venue chosen by the plaintiff, the plaintiff's

choice should be respected. When the movant demonstrates that the transferee venue

is clearly more convenient, however, it has shown good cause and the district court

should therefore grant the transfer.” Id.

                                  III.    ANALYSIS

      A. Court in Which the Action Could Have Been Brought

      The Court finds this action could have been brought in the Central District of




                                            4
    Case 5:20-cv-00219 Document 132 Filed on 03/18/22 in TXSD Page 5 of 18




California. First, diversity jurisdiction would exist as it does in this Court. See 28

U.S.C. § 1332(a). Further, venue is proper in the Central District of California

because “a substantial part of the events or omissions giving rise to the claim

occurred” there. 28 U.S.C. § 1391(b)(2). As Amazon Studios states, and Plaintiff does

not contest:

      The Series was developed, produced, and edited in the Central District
      of California. A majority of the participant interviews, including on[-]
      camera interviews with Berrellez and the three cartel informants, took
      place in Los Angeles. The trials of the cartel members accused of
      Camarena’s murder, at which the Plaintiff testified, took place in Los
      Angeles. Moreover, the Series was primarily created, filmed, and
      produced in California, and a majority of interviews with the Series’
      participants were conducted there. Amazon Studios, the Series’
      distributor, is based in the Los Angeles area and its California-based
      employees made Amazon Studios’ decisions in connection with the
      Series.

(Dkt. No. 59-1 at 11) (internal citations omitted).

      As for personal jurisdiction, Amazon Studios’ principal place of business is in

California (Dkt. No. 1 at 7). Thus, it is “at home” in California and subject to its

general jurisdiction. See Ford Motor Co. v. Montana Eighth Jud. Dist. Ct., 141 S. Ct.

1017, 1024 (2021) (explaining a corporation is at home in its place of incorporation

and principal place of business). And, as previously mentioned, all other remaining

defendants have been transferred to California after the Court determined the

California court would have personal jurisdiction over them. (Dkt. No. 131).

      B.   Convenience of the Parties and Witnesses and Interest of Justice

      After weighing the public and private interest factors enumerated above, as




                                           5
          Case 5:20-cv-00219 Document 132 Filed on 03/18/22 in TXSD Page 6 of 18




well as an additional consideration raised by Plaintiff, the Court finds a transfer to

the Central District of California would serve the convenience of the parties and

witnesses and further the interest of justice.

               1. Public Interest Factors

                   a) Administrative difficulties flowing from court congestion

            This factor considers “not whether transfer will reduce a court’s congestion but

whether a trial may be speedier in another court because of its less crowded docket.”

Hillestad v. LLOG Expl. Co., LLC, No. 3:17-cv-341, 2018 WL 4938708, at *7 (S.D.

Tex. Sept. 20, 2018) (cleaned up), R. & R. adopted, 2018 WL 4931783 (S.D. Tex. Oct.

11, 2018). For a twelve-month period ending in December 2021, judges in the

Southern District of Texas had a median disposition time of 9 months for civil cases.3

For the Central District of California, judges had a median disposition time of 4.9

months for civil cases.4 And the two Districts have substantially similar average

times to trial in civil cases.5 Because the Central District of California disposes of civil

cases faster than the Southern District of Texas, this factor weighs in favor of

transfer.

                   b) Local interest in having localized interests decided at home

            Amazon Studios—a California-based entity—asserts “California has an

interest in ‘adjudicating the integrity’ of its own citizens in defamation cases” (Dkt.


3 Administrative Office of the United States Courts, Federal Court Management Statistics: United
States District Courts – National Judicial Caseload Profile (Dec. 31, 2021), https://www.uscourts.gov/
sites/default/files/data_tables/fcms_na_distprofile1231.2021.pdf.

4   Id.

5   Id.


                                                  6
    Case 5:20-cv-00219 Document 132 Filed on 03/18/22 in TXSD Page 7 of 18




No. 59-1 at 14 (quoting Epstein, 2007 WL 295632, at *7)). It is true that a district

court “has a significant interest in ‘policing . . . entities operating within its [district]

and engaging in interstate business activities.’” Siragusa v. Arnold, No. 3:12-cv-

04497, 2013 WL 5462286, at *7 (N.D. Tex. Sept. 16, 2013) (quoting ExpressJet

Airlines, Inc. v. RBC Cap. Mkts. Corp., No. 4:09-cv-992, 2009 WL 2244468, at *13

(S.D. Tex. July 27, 2009)). However, it is also true that a district court has an interest

in protecting its citizens, like Plaintiff, from “unlawful defamation.” Epstein, 2007

WL 295632, at *7; see also ExpressJet Airlines, 2009 WL 2244468, at *13 (holding a

district court “has a strong interest in adjudicating a case involving harm” to an entity

within its district). Because California has an interest in adjudicating the behavior of

its citizens and Texas has an interest in protecting its citizens from harm, this factor

is neutral.

               c) Familiarity of the forum with the law that will govern the
                  case and avoiding unnecessary conflict of laws problems

       As to the last two factors, assessed together for convenience, Amazon Studios

does not conclusively assert whether California or Texas tort law would apply if the

matter was transferred (see Dkt. No. 59-1 at 14; Dkt. No. 72 at 3, 8). However,

Amazon Studios asserts that if Texas law applied, the California district court would

be “fully capable” of applying it (Dkt. No. 59-1 at 14; Dkt. No. 72 at 8). Plaintiff asserts

that Texas law would apply but admits that while “federal courts in Texas are most

familiar with Texas law,” California federal courts have the “general ability . . . to

apply the law of other States” (Dkt. No. 64 at 22).

       Because Texas is the transferor court, the Central District of California will



                                             7
    Case 5:20-cv-00219 Document 132 Filed on 03/18/22 in TXSD Page 8 of 18




apply Texas’s choice-of-law rules if the case is transferred pursuant to § 1404(a).

Yelton v. PHI, Inc., 669 F.3d 577, 580 (5th Cir. 2012). Here, neither party has asserted

there is a conflict between the state laws of Texas and California or whether, as a

result, Texas’s choice-of-law rules would need to be employed at all (see, e.g., Dkt. No.

64 at 22 (“[N]o problems of conflict of laws [are] implicated.”)). Thus, the Court

“cannot conclude that either forum would present problems of conflicts of law or that

either forum would be unfamiliar with the law at issue.” Siragusa, 2013 WL 5462286,

at *7; see also Worldpak Int’l, LLC v. Diablo Valley Packaging, Inc., No. 4:08-cv-469,

2009 WL 1708080, at *6 (E.D. Tex. June 16, 2009) (“Absent any discussion on this

issue by the parties in their briefs, the Court declines to speculate on the question of

which state’s law will apply in this diversity action. Accordingly, this factor is

neutral.”). Therefore, these factors are neutral.

      Overall, of the four public interest factors, one weighs in favor of transfer, and

three are neutral. Because the one factor weighing in favor of transfer—

administrative difficulties flowing from court congestion—should, alone, not

outweigh the other public interest factors, the Court concludes the public interest

factors weigh neither for, nor against, transfer. See Frito-Lay N. Am., Inc. v.

Medallion Foods, Inc., 867 F. Supp. 2d 859, 871 (E.D. Tex. 2012).

          2. Private Interest Factors

              a) Relative ease of access to sources of proof

      Regarding the “access to sources of proof” factor, Amazon Studios asserts its

“principal studios and corporate headquarters are located in . . . the Los Angeles




                                           8
     Case 5:20-cv-00219 Document 132 Filed on 03/18/22 in TXSD Page 9 of 18




metropolitan area” and all of its “actions and decisions in connection with the [Show]

were performed by employees based out of its California offices” (Dkt. No. 72 at 8).

Thus, “California is more convenient for production of key records,” and “to the extent

paper files exist, they are located in [Amazon Studios’] California offices” (Dkt. No.

59-1 at 12; Dkt. No. 72 at 8). Amazon Studios notes the paper files “may contain

communications and other documents about Amazon Studios’ distribution of the

[Show]” (Dkt. No. 59-2 at 2).

        Plaintiff, with no citation to case law, asserts this factor should apply only to

sources of proof held by non-parties (Dkt. No. 64 at 18).6 On this point, Plaintiff notes

there are two main non-party sources of information: medical records held in Texas,

which are “germane to his damages claim,” and the DEA, “which possesses documents

relating to the murder of Agent Camarena and the ensuing investigation” (id.). But

according to Plaintiff’s own complaint, Agent Camarena’s murder was investigated,

at least in part, out of the DEA’s Los Angeles office (Dkt. No. 1 at 11–12). So, some, if

not all, of the DEA’s relevant documents are likely located in the Central District of

California.

        Further, as discussed below, Amazon Studios’ three co-defendants will be




6Plaintiff argues that the ease of modern electronic document production should nullify or diminish
any findings of convenience under this factor (Dkt. No. 64 at 18–19). But the Fifth Circuit has refuted
this argument: “That access to some sources of proof presents a lesser inconvenience now than it might
have absent recent developments does not render this factor superfluous.” Volkswagen II, 545 F.3d at
316. Further, Plaintiff argues this factor pertains only to the ease of access to sources of proof, as
opposed to the location of the sources of proof (Dkt. No. 64 at 18). The soundness of this distinction is
questionable, as ease of access often correlates to location of access. In fact, when assessing this factor,
the Fifth Circuit has specifically looked to the location of documents and physical evidence. See
Volkswagen II, 545 F.3d at 316.



                                                     9
      Case 5:20-cv-00219 Document 132 Filed on 03/18/22 in TXSD Page 10 of 18




litigating Plaintiff’s claims in the Central District of California. These co-defendants

have significant, case-specific ties to the transferee forum and have access to certain

records held in California (see Dkt. No. 59-1 at 12). Because more records can be found

in California, this factor weighs in favor of transfer.

                   b) Availability of compulsory process to secure the attendance
                      of witnesses

          For this factor, Amazon Studios notes that several non-party witnesses—

including two of its own—are located in California (Dkt. No. 59-1 at 12; Dkt. No. 72

at 7). Plaintiff, referencing the parties’ initial disclosures, counters that “the majority

of the witnesses in this case, including non-party witnesses, live in (or can be

contacted in) Texas rather than California” (Dkt. No. 64 at 17). Because employers

can compel their employees to appear at trial without using the Court’s compulsory

process, the Court will focus on potential witnesses who maintain no employer-

employee relationship with the parties. See Pension Advisory Grp., Ltd. v. Country

Life Ins. Co., 771 F. Supp. 2d 680, 711 (S.D. Tex. 2011). Further, because this factor

properly centers “key” witnesses, convenience considerations for liability witnesses

will be given more weight than those of damages witnesses. Epstein, 2007 WL 295632,

at *5 (“In a libel case, the key nonparty witnesses are those having knowledge

relevant to the liability of the defendant.”).

          Of the 52 potential witnesses in Plaintiff’s initial disclosures,7 33 live in Texas,

7 live in California, and 12 live in other, or unknown, states (Dkt. No. 64 at 16). Of



7   The Court excludes Plaintiff himself in this count.



                                                    10
       Case 5:20-cv-00219 Document 132 Filed on 03/18/22 in TXSD Page 11 of 18




the 40 Texas and California witnesses, 11 are non-party liability witnesses, with 5

residing in Texas and 6 residing in California (Dkt. 64-2 at 2–13; Dkt. No. 72 at 6).

Amazon Studios’ initial disclosures add one California-based, non-party liability

witness to the count (Dkt. No. 64-3 at 7).8

          Thus, there are 7 California-based nonparty liability witnesses and 5 Texas-

based nonparty liability witnesses. At first blush, it appears this factor weighs in

favor of California. Nonetheless, the Court recognizes that Plaintiff has disclosed 28

Texas-based damages witnesses,9 who significantly outnumber the 12 liability

witnesses. After careful consideration, the Court will weigh this factor neutrally.

                   c) Cost of attendance for willing witnesses

          Amazon Studios argues that transferring this matter to California would

reduce the costs for most party witnesses, as its offices and many of its employees

who may serve as potential witnesses are located there (Dkt. No. 59-1 at 12; Dkt. No.

72 at 7). It also notes that co-defendant Berrellez resides in California, and the offices

and employees of co-defendant IPC are also in California (Dkt. No. 59-1 at 12; Dkt.

No. 72 at 6–7). Plaintiff counters that “Amazon” is “the fourth largest company in the

world, with a market capitalization of almost $1.7 trillion . . . [and] has the resources

to defend itself no matter where suit is brought against it” (Dkt. No. 64 at 15).10 In


8Because neither party alleged the locations of the other defendants’ non-party witnesses, the Court
declines to address the issue.

9 As described by Amazon Studios: “17 are various doctors, including two dermatologists and three
different general practitioners, slated to apparently testify as to Plaintiff’s ‘physical, mental, and
emotional conditions . . . resulting from Defendants’ actions.’ . . . [and] another 11 of the 34 Texas-
based residents are ‘Plaintiff’s friends and family members’” (Dkt. No. 72 at 6).

10   Plaintiff also argues that Amazon Studios is represented by a law firm with offices across the country


                                                     11
   Case 5:20-cv-00219 Document 132 Filed on 03/18/22 in TXSD Page 12 of 18




contrast, Plaintiff, as “an 84[-]year-old private citizen [of Texas] with significant

health issues and limited resources,” should not be forced to litigate outside of Texas

(id. at 16). Amazon Studios protests Plaintiff’s conflation of Amazon Studios with its

corporate parent, Amazon.com, Inc., and notes any cost and inconvenience to Plaintiff

can be reduced by conducting his deposition de bene esse (Dkt. No. 72 at 7).

       Amazon Studios is correct in that a transfer to California would reduce the cost

of attendance for most individuals and entities implicated in his matter. As to

Plaintiff’s argument about the size and wealth of “Amazon,” Plaintiff is clearly

referencing Amazon Studios’ parent company, Amazon.com, Inc. However, Plaintiff

cites no case law that permits the Court to consider the resources of a parent company

in a § 1404(a) analysis. Further, because “[a] bedrock principle of corporate law is

that ‘a parent corporation . . . is not liable’ for actions taken by its subsidiaries,” the

Court questions the propriety of including Amazon.com, Inc., in its analysis. Bridas

S.A.P.I.C. v. Gov’t of Turkmenistan, 447 F.3d 411, 416 (5th Cir. 2006) (quoting United

States v. Bestfoods, 524 U.S. 51, 61 (1998)). Thus, the Court will give no weight to

Plaintiff’s argument about Amazon.com, Inc.’s resources.

       Finally, the Court agrees that, given Plaintiff’s age and health concerns, travel

to California from Texas will pose an inconvenience to him. While Plaintiff is willing

to be deposed de bene esse, this arrangement cannot fully replace Plaintiff’s

opportunity to participate, in-person, in a potential trial. Nevertheless, because



and, thus, would not be inconvenienced by litigating in Texas (Dkt. No. 64 at 15–16). However, “the
convenience of counsel is not a factor to be assessed in determining whether to transfer a case under
§ 1404(a).” Volkswagen I, 371 F.3d at 206.



                                                 12
     Case 5:20-cv-00219 Document 132 Filed on 03/18/22 in TXSD Page 13 of 18




Berrellez and numerous IPC and Amazon Studios employees have been identified as

potential witnesses in this case, California would, overall, be more convenient and

less costly. This factor weighs in favor of transfer.

                d) All other practical problems that make trial of a case easy,
                   expeditious, and inexpensive

       Because Plaintiff’s claims against three other defendants will be litigated in

California, this factor heavily weighs in favor of transfer: “To permit a situation in

which two cases involving precisely the same issues are simultaneously pending in

different District Courts leads to the wastefulness of time, energy and money that §

1404(a) was designed to prevent.” Cont’l Grain Co. v. The FBL-585, 364 U.S. 19, 26

(1960). “[T]he existence of multiple lawsuits involving the same issues is a paramount

consideration when determining whether a transfer is in the interest of justice.” In re

Volkswagen of Am., Inc., 566 F.3d 1349, 1351 (Fed. Cir. 2009) (“Volkswagen III”)

(applying the Fifth Circuit’s transfer test). “Where related litigation is pending in the

transferee court, the ‘interest of justice’ may dictate transfer notwithstanding any

inconvenience to the parties and witnesses.” Doubletree Partners, LP v. Land Am.

Am. Title Co., No. 3:08-cv-1547, 2008 WL 5119599, at *6 (N.D. Tex. Dec. 3, 2008)

(emphasis added). In this case, a transfer will reduce scheduling conflicts and some

duplicative discovery, motion practice, and damages calculations.11 See Stingray


11 The Court notes that even though Plaintiff asserted the same tort claims against Amazon Studios
and its three co-defendants, different state laws may apply to these claims because of the statutes by
which they were transferred. After a § 1404(a) transfer, the transferee court must apply the state law
of a transferor court, including its choice-of-law rules. See Van Dusen v. Barrack, 376 U.S. 612, 639
(1964). However, after a § 1406(a) and § 1631 transfer due to improper venue or lack of personal
jurisdiction, the transferee court applies whatever law it would have applied had the action properly
commenced there. Nat’l Union Fire Ins. Co. of Pittsburgh, Pa. v. Am. Eurocopter Corp., 692 F.3d 405,
408 n.3 (5th Cir. 2012); Jackson v. W. Telemarketing Corp. Outbound, 245 F.3d 518, 523 (5th Cir.


                                                 13
      Case 5:20-cv-00219 Document 132 Filed on 03/18/22 in TXSD Page 14 of 18




Music USA, Inc. v. Music Choice, No. 2:16-cv-964, 2017 WL 1022741, at *4 (E.D. Tex.

Mar. 16, 2017). Therefore, this factor weighs strongly in favor of transfer.

          Thus, of the four private interest factors, three weigh in favor of transfer and

one weighs neutrally. Because most of the claims have already been transferred to

the Central District of California (see Dkt. No. 131), the Court concludes these factors

weigh heavily in favor of transfer.

              3. Plaintiff’s Additional Argument

          In addition to the public and private interest factors, Plaintiff raises another

argument: He alleges Amazon Studios seeks transfer because the Ninth Circuit will

apply “more favorable law” (Dkt. No. 64 at 6–10). Specifically, Plaintiff is concerned

with the applicability of the Texas Citizens Participation Act (“TCPA”)12 in federal

courts (id. at 7). He notes that the TCPA “imposes various procedural requirements

and burden-shifting hurdles on certain plaintiffs bringing defamation claims in Texas

state courts,” and that there is a circuit split about the TCPA’s applicability in federal

courts (id. at 7–8). In the Fifth Circuit, the TCPA is procedural under the Erie

doctrine and does not apply to diversity suits in federal court. See Klocke v. Watson,

936 F.3d 240, 244–48 (5th Cir. 2019). However, in an unpublished decision, the Ninth

Circuit held the TCPA was substantive and applies to Texas defamation claims

asserted in federal court. See Clifford v. Trump, 818 F. App’x. 746, 747 (9th Cir. 2020).

Plaintiff avers Amazon Studios seeks transfer to “avail itself of the TCPA to at least



2001). But a transfer of all claims to the same forum will still result in increased convenience and
judicial economy, as discussed above.

12   Tex. Civ. Prac. & Rem. Code §§ 27.001 et seq.


                                                     14
     Case 5:20-cv-00219 Document 132 Filed on 03/18/22 in TXSD Page 15 of 18




delay or limit its liability (or else make Plaintiff’s life more difficult)” (Dkt. No. 64 at

7–8). Therefore, Plaintiff urges denying transfer because the Supreme Court, in Van

Dusen v. Barrack, “rooted the requirement of outcome neutrality in the legislative

history of 28 U.S.C. § 1404(a)” (id. at 10 (citing Van Dusen v. Barrack, 376 U.S. 612,

636–37 (1964))).

       Plaintiff’s reliance on Van Dusen is unpersuasive. In Van Dusen, the Supreme

Court held that where a case is transferred under § 1404(a), the transferee court must

apply the state law that would have been applied if there had been no change of

venue. Van Dusen, 376 U.S. at 639. The Supreme Court’s analysis focused exclusively

on the prejudice a plaintiff might encounter if a § 1404(a) transfer was accompanied

by a change in state law. Id. at 634–36. It held that, concerning the application of

state law, a change of venue under § 1404(a) should generally be “but a change of

courtrooms.” Id. at 639. It also noted it was “only concerned here with those state

laws of the transferor State which would significantly affect the outcome of the case.”

Id. at 639 n.40.

       Plaintiff asserts that, under Van Dusen, “the mere possibility that a venue

transfer could result in a change of law prejudicial to Plaintiff requires the Court to

deny the motion” (Dkt. No. 64 at 9) (emphasis added). But Van Dusen articulated no

such holding.13 Van Dusen, 376 U.S. at 639. Furthermore, the rule proffered by

Plaintiff is too absolutist, as it is at odds with the flexibility and discretion the Court


13 In fact, the Supreme Court stated that, by construing § 1404(a) to maintain the applicability of
transferor state law, it rejected plaintiff’s argument that transfers should be denied based on
prejudicial changes in state law. See Van Dusen, 376 U.S. at 639.



                                                15
   Case 5:20-cv-00219 Document 132 Filed on 03/18/22 in TXSD Page 16 of 18




enjoys when it evaluates § 1404(a) motions to transfer.

      Plaintiff’s somewhat disjointed arguments under Van Dusen boil down to the

following proposition: In evaluating this transfer request under § 1404(a), the Court

must consider whether Plaintiff would be disadvantaged by a change in federal law,

in the form of varying applications of the Erie doctrine (see Dkt. No. 64 at 6–10). But

this scenario is not addressed by Van Dusen. Rather, Van Dusen focused on

maintaining the consistency of state law. Plaintiff cites no other relevant case law to

indicate the Van Dusen logic applies to the federal laws of the transferor and

transferee courts.

      But even assuming Van Dusen’s reasoning could be extended to the circuit split

at issue here, it is unclear that a transfer “would significantly affect the outcome of

the case” or prejudice Plaintiff in any way. Van Dusen, 376 U.S. at 639 n.40. For

example, Plaintiff does not specifically allege whether, or how, his claims would be

prejudiced by the application of the TCPA (see Dkt. No. 64 at 7 (“Of course, the notion

that this is an abusive SLAPP suit [which the TCPA was designed to prevent] is

beyond fanciful.”); see also id. at 7–8 (application of the TCPA might “limit [Amazon

Studios’] liability” but might also simply “delay [the proceedings] . . . or else make

Plaintiff’s life more difficult”)). Nor does Plaintiff adequately brief whether the

California court would apply the TCPA at all (see Dkt. No. 64 at 9 (“It’s not entirely

clear whether, under Van Dusen, the transferee court Amazon seeks would be obliged

to apply Texas law as it has been interpreted in the transferor circuit (i.e., Klocke) or

whether it could apply Texas law as it has been construed by its own circuit (i.e.,




                                           16
   Case 5:20-cv-00219 Document 132 Filed on 03/18/22 in TXSD Page 17 of 18




Clifford), whose rulings presumably bind it.”)). Nor does he address the non-

precedential nature of the Ninth Circuit’s decision in Clifford. At bottom, Plaintiff’s

reliance on Van Dusen is strained and relies on uncertain and speculative outcomes.

The Court will give this argument no weight in evaluating whether the interests of

justice favor transfer.

      In summary, the public interest factors weigh neutrally, and the private

interest factors weigh strongly in favor of transfer. See supra Section III.B. Thus, the

transferee venue, the Central District of California, is clearly more convenient than

the venue chosen by Plaintiff, and there is good cause to grant the transfer.

                               IV. CONCLUSION

        For the foregoing reasons, Amazon Studios’ motion to transfer venue

pursuant to 28 U.S.C. § 1404(a) (Dkt. No. 59) is GRANTED. At this juncture, the

Court has ruled that all of Plaintiff’s claims against the remaining Defendants should

be transferred to the transferee court. Therefore, the Clerk of Court is DIRECTED

to TRANSFER this entire civil action to the Central District of California, Los

Angeles Division. After transferring this action, the Clerk of Court shall CLOSE this

case. Finally, this Order will initially be filed under seal because it will be docketed

in conjunction with the sealed Order in Dkt. No. 131. However, if Dkt. No. 131 is

unsealed, in part or in full, the Clerk of Court shall UNSEAL this Order.

      It is so ORDERED.




                                          17
Case 5:20-cv-00219 Document 132 Filed on 03/18/22 in TXSD Page 18 of 18




  SIGNED March 18, 2022.




                                   _______________________________
                                   Marina Garcia Marmolejo
                                   United States District Judge




                                  18
